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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

JOSEPH QUINTAL, JR. derivatively on    )
behalf of DENDREON CORPORATION,        )
                                       )
                    Plaintiff,         )
                                       )
      v.                               )             C.A. No. 14-311-LPS
                                       )
SUSAN B. BAYH, BOGDAN                  )
DZIURZYNSKI, DENNIS M. FENTON, )
PEDRO GRANADILLO, JOHN G.              )
JOHNSON, DAVID C. STUMP, DAVID L. )
URDAL, DOUGLAS G. WATSON,              )
MITCHELL H. GOLD, and GERARDO          )
CANET,                                 )
                    Defendants,        )
                                       )
                    -and-              )
                                       )
DENDREON CORPORATION, a                )
Delaware Corporation,                  )
                                       )
                    Nominal Defendant. )

           JOINT STIPULATION AND [PROPOSED] ORDER OF DISMISSAL

               WHEREAS, on March 7, 2014, Plaintiff filed the Verified Shareholder Derivative

Complaint (the “Complaint”) in this matter;

               WHEREAS, on November 10, 2014, Dendreon Corporation (“Dendreon”),

nominal defendant in the above-captioned case, filed a voluntary petition for relief under chapter

11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”);

               WHEREAS, on June 2, 2015, the Bankruptcy Court entered an order (the

“Confirmation Order”) modifying and confirming Dendreon’s second amended plan of

liquidation (the “Plan”), and on June 10, 2015, the “Effective Date” of the Plan occurred;

               WHEREAS, the Plan provided, as of the Effective Date, for the extinguishment of

all equity interests in Dendreon and, among other things, injunctive relief and the release of
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claims and causes of action as provided in Article X of the Plan (the “Plan Injunction and

Release”);

                WHEREAS, the former stockholders of Dendreon received notice of the Plan,

including the extinguishment of all equity interests in Dendreon and the Plan Injunction and

Release, in connection with the chapter 11 bankruptcy proceeding, captioned In re Dendreon

Corp., et al., Chapter 11 Case No. 14-12515 (LSS);

                WHEREAS, Plaintiff has determined that he lacks standing to pursue this action

as a result of the extinguishment of all equity interests in Dendreon and therefore proposes to

dismiss the Complaint; and

                WHEREAS, the parties, by and through the undersigned counsel, hereby stipulate

and agree to the dismissal of the above-captioned matter, without prejudice; it is

                ORDERED, ADJUDGED and DECREED that:

                1.     This Court has jurisdiction over the subject matter of this action and over

the parties. Venue is proper in this district.

                2.     All claims, counterclaims and defenses brought or raised by any party in

this action are dismissed, without prejudice.

                3.     Each party shall bear its own costs and attorney fees for this action.

                4.     This Court retains jurisdiction over the subject matter of this action and

the parties hereto for the purpose of any proceedings to enforce this Joint Stipulation and Order

of Dismissal.
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FARNAN, LLP                                SKADDEN, ARPS, SLATE, MEAGHER &
                                           FLOM, LLP

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derivatively on behalf of Dendreon         Dziurzynski, Dennis M. Fenton, Pedro
Corporation                                Granadillo, John G. Johnson, David C. Stump,
                                           David L. Urdal, Douglas G. Watson, Mitchell H.
                                           Gold, Gerardo Canet and Dendreon Corporation

DATED: July 1, 2015


        IT IS SO ORDERED this ___ day of July, 2015.

                                         ___________________________________
                                         United States District Court Judge




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